               Case 20-12602-BLS   Doc 39-1   Filed 10/16/20   Page 1 of 11




                                   EXHIBIT 1




DOCS_DE:231131.1 23629/001
               CaseCase 20-12602 Doc
                    20-12602-BLS Doc 239-1Filed 10/15/20
                                              Filed 10/16/20Page 1 of26of 11
                                                               Page




                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

In re:                                 )                             Chapter 11
                                       )
RED REEF ALTERNATIVE INVESTMENTS, LLC, )                             Case No. 20-12601 (___)
                                       )
                     Debtor.           )
                                       )
In re:                                 )                             Chapter 11
                                       )
EMERGENT CAPITAL, INC.,                )                             Case No. 20-12602 (___)
                                       )
                     Debtor.           )
                                       )

    DEBTORS’ MOTION FOR ORDER DIRECTING JOINT ADMINISTRATION
    OF RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

                   The above-captioned debtors and debtors in possession (collectively, the

“Debtors”),1 hereby move (the “Motion”) the Court for the entry of an order, substantially in the

form attached hereto as Exhibit A, pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (“Local

Rules”), authorizing and directing the joint administration of the Debtors’ related chapter 11

cases for procedural purposes only. In support of this Motion, the Debtors state as follows:

                                      JURISDICTION AND VENUE

                   1.     The United States Bankruptcy Court for the District of Delaware (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

1
   The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
(0302) and Emergent Capital, Inc. (3473). The location of the Debtors’ service address for purposes of these cases
is 1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.


DOCS_LA:332933.2
               CaseCase 20-12602 Doc
                    20-12602-BLS Doc 239-1Filed 10/15/20
                                              Filed 10/16/20Page 2 of36of 11
                                                               Page




Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

U.S.C. § 157(b)(2), and the Debtors confirm their consent pursuant to Local Rule 9013-1(f) to

the entry of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

                   2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                   3.     The statutory predicates for the relief requested herein are section 105(a)

of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rule 1015(b), and

Local Rule 1015-1.

                                               BACKGROUND

                   4.     The factual background regarding the Debtors, including their current and

historical business operations and the events precipitating the chapter 11 filing, is set forth in

detail in the Declaration of Miriam Martinez, Chief Financial Officer, in Support of Debtors’

Bankruptcy Petitions and First Day Relief (the “First Day Declaration”) filed concurrently

herewith and incorporated herein by reference.2

                                          RELIEF REQUESTED

                   5.     By this Motion, the Debtors seek entry of an order directing the joint

administration of their chapter 11 cases and the consolidation thereof for procedural purposes

only. The Debtors also request that the caption of their chapter 11 cases be modified to reflect

their joint administration as follows:


2
 Capitalized term used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
Declaration.

                                                           2
DOCS_LA:332933.2
                 CaseCase 20-12602 Doc
                      20-12602-BLS Doc 239-1Filed 10/15/20
                                                Filed 10/16/20Page 3 of46of 11
                                                                 Page




                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE

In re:                                    ) Chapter 11
                                          )
RED REEF ALTERNATIVE INVESTMENTS, LLC and ) Case No. 20-_____ (___)
EMERGENT CAPITAL, INC.,1                  )
                                          ) (Jointly Administered)
                     Debtors.             )
1
    The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
    (0302) and Emergent Capital, Inc. (3473). The location of the Debtors’ service address for purposes of these
    cases is 1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.

                   6.       In addition, the Debtors request that the Court direct the Clerk of this

Court (the “Clerk”) to make a notation substantially similar to the following on the docket of Red

Reef Alternative Investments, LLC:

                   An order (the “Joint Administration Order”) has been entered in
                   this case directing the joint administration of this chapter 11 case
                   with Case No. 20-_____ (___) for procedural purposes only. The
                   docket in Emergent Capital, Inc.’s Case No. 20-_____ (___)
                   should be consulted for all matters affecting this case.

                   7.       Finally, the Debtors request that the Court permit use of a combined

service list and correspondingly combined notices.

                                              BASIS FOR RELIEF

                   8.       Bankruptcy Rule 1015(b) provides that, if two or more petitions are

pending in the same court by or against a debtor and an affiliate, joint administration is

permissible. See Fed. R. Bankr. P. 1015(b). Additionally, Rule 1015-1 of the Local Rules

permits entry of such an order without notice or a hearing so long as the Debtors demonstrate

that such treatment is warranted.




                                                            3
DOCS_LA:332933.2
               CaseCase 20-12602 Doc
                    20-12602-BLS Doc 239-1Filed 10/15/20
                                              Filed 10/16/20Page 4 of56of 11
                                                               Page




                   9.     Joint administration is warranted in these chapter 11 cases because (a) the

Debtors are affiliates of each other and (b) such administration will ease the administrative

burden on the Court and other parties. The Debtors are under common ownership and

management. They also share certain creditors and parties in interest. As a result, joint

administration will prevent duplicative efforts and unnecessary expenses, without any risk of

prejudice.

                   10.    Joint administration is generally non-controversial, and courts in this

district routinely order joint administration in cases with multiple related debtors. See, e.g., In re

Charming Charlie Holdings Inc., No. 17-12906 (CSS) (Bankr. D. Del. Dec. 13, 2017) (directing

joint administration of chapter 11 cases); In re GST AutoLeather, Inc., No. 17-12100 (LSS)

(Bankr. D. Del. Oct. 4, 2017) (same); In re True Religion Apparel, Inc., No. 17-11460 (CSS)

(Bankr. D. Del. July 6, 2017) (same); In re Wet Seal, LLC (2017), No. 17-10229 (CSS) (Bankr.

D. Del. Feb. 3, 2017) (same).3

                   11.    The Debtors anticipate that various notices, applications, motions, other

pleadings, hearings, and orders in these cases will affect both of the Debtors. The failure to

administer these cases jointly would result in numerous duplicative pleadings filed for each issue

and potentially served upon separate service lists. Such duplication of substantially identical

documents would be wasteful and would unnecessarily overburden the Clerk with the volume of

paper.




3
 Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
Copies of these orders are available upon request to the Debtors’ proposed counsel.

                                                           4
DOCS_LA:332933.2
              CaseCase 20-12602 Doc
                   20-12602-BLS Doc 239-1Filed 10/15/20
                                             Filed 10/16/20Page 5 of66of 11
                                                              Page




                   12.   Joint administration will permit the Clerk to use a single general docket

for both of the Debtors’ cases and to combine notices to creditors and other parties in interest of

the Debtors’ respective estates. Joint administration also will protect parties in interest by

ensuring that such parties in interest in each of the Debtors’ respective chapter 11 cases will be

apprised of the various matters before the Court in all of these cases.

                   13.   The Debtors request that the official caption to be used by all parties in all

pleadings in the jointly administered cases be in the form set forth in this Motion.

                   14.   The rights of the respective creditors of each of the Debtors will not be

adversely affected by joint administration of these cases inasmuch as the relief sought is purely

procedural and is in no way intended to affect substantive rights, nor shall such relief be deemed

or construed as directing or otherwise effecting a substantive consolidation of the Debtors. Each

creditor and party in interest will maintain whatever rights it has against the particular estate in

which it allegedly has a claim or right. Indeed, the rights of all creditors will be enhanced by the

reduction in costs resulting from joint administration. The Court also will be relieved of the

burden of entering duplicative orders and keeping duplicative files. Supervision of the

administrative aspects of these chapter 11 cases by the Office of the United States Trustee also

will be simplified.

                                     NO PREVIOUS REQUEST

                   15.   No previous motion or application for the relief sought herein has been

made to this or any other court.




                                                     5
DOCS_LA:332933.2
              CaseCase 20-12602 Doc
                   20-12602-BLS Doc 239-1Filed 10/15/20
                                             Filed 10/16/20Page 6 of76of 11
                                                              Page




                                                NOTICE

                   16.    Notice of this Motion shall be provided to the following parties, or their

counsel, if known: (i) the Office of the United States Trustee for the District of Delaware; (ii)

the Office of the United States Attorney; (iii) the Debtors’ twenty largest unsecured creditors;

(iv) counsel to the supporting senior secured noteholders; (v) counsel to the supporting

convertible unsecured noteholders; and (vi) counsel to the indenture trustees. The Debtors

submit that, in light of the nature of the relief requested, no other or further notice need be given.

                   WHEREFORE, the Debtors respectfully request that the Court enter an order:

(a) authorizing the joint administration of the Debtors’ cases for procedural purposes only,

(b) directing the Clerk to make the docket entries set forth herein, and (c) granting such other and

further relief as is proper.

Dated: October 15, 2020                            PACHULSKI STANG ZIEHL & JONES LLP

                                                   /s/ Colin R. Robinson
                                                   Richard M. Pachulski (CA Bar No. 62337)
                                                   Maxim B. Litvak (CA Bar No. 215852)
                                                   Colin R. Robinson (DE Bar No. 5524)
                                                   919 North Market Street, 17th Floor
                                                   P.O. Box 8705
                                                   Wilmington, DE 19899-8705 (Courier 19801)
                                                   Telephone: (302) 652-4100
                                                   Facsimile: (302) 652-4400
                                                   E-mail:        rpachulski@pszjlaw.com
                                                                  mlitvak@pszjlaw.com
                                                                  crobinson@pszjlaw.com

                                                   Proposed Counsel for the Debtors
                                                   and Debtors in Possession




                                                      6
DOCS_LA:332933.2
                 Case
              Case    20-12602 Doc
                   20-12602-BLS Doc2-1
                                    39-1Filed 10/15/20
                                           Filed 10/16/20Page 1 of
                                                           Page  84of 11




                                     EXHIBIT A
                                   Proposed Order




DOCS_LA:332933.2
                    Case
                 Case    20-12602 Doc
                      20-12602-BLS Doc2-1
                                       39-1Filed 10/15/20
                                              Filed 10/16/20Page 2 of
                                                              Page  94of 11




                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE

In re:                                 )                               Chapter 11
                                       )
RED REEF ALTERNATIVE INVESTMENTS, LLC, )                               Case No. 20-12601 (___)
                                       )
                     Debtor.           )
                                       )
In re:                                 )                               Chapter 11
                                       )
EMERGENT CAPITAL, INC.,                )                               Case No. 20-12602 (___)
                                       )
                     Debtor.           )
                                       )

                ORDER AUTHORIZING JOINT ADMINISTRATION OF
           RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

                   Upon consideration of the motion (the “Motion”)1 of the above-captioned debtors

and debtors in possession (collectively, the “Debtors”)2 seeking entry of an order (this “Order”)

pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1 authorizing and directing the joint

administration of the Debtors’ related chapter 11 cases for procedural purposes only; all as more

fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding and the


1
    Capitalized terms not defined herein retain the meaning assigned to them in the Motion.
2
   The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
(0302) and Emergent Capital, Inc. (3473). The location of the Debtors’ service address for purposes of these cases
is 1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.


DOCS_LA:332933.2
              CaseCase 20-12602 Doc
                   20-12602-BLS Doc2-1
                                    39-1 Filed 10/15/20
                                           Filed 10/16/20 Page
                                                           Page3 of
                                                                 104of 11




Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that there is good and sufficient cause for the relief set forth in this Order; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and the Court finding that: (a) the Debtors are “affiliates” within the

meaning of section 101(2) of the Bankruptcy Code; (b) the joint administration of the Debtors’

cases for procedural purposes is appropriate pursuant to Bankruptcy Rule 1015(b) and Local

Rule 1015-1; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                   1.   The Motion is hereby granted as set forth herein.

                   2.   The above-captioned chapter 11 cases are hereby consolidated for

procedural purposes only and shall be jointly administered by this Court. Nothing contained in

this Order shall be deemed or construed as directing or otherwise effecting a substantive

consolidation of the captioned cases, and this Order shall be without prejudice to the rights of the

Debtors to seek entry of an order substantively consolidating their respective cases.

                   3.   The caption of the jointly administered cases shall read as follows:




                                                    2
DOCS_LA:332933.2
                CaseCase 20-12602 Doc
                     20-12602-BLS Doc2-1
                                      39-1 Filed 10/15/20
                                             Filed 10/16/20 Page
                                                             Page4 of
                                                                   114of 11




                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE

In re:                                    ) Chapter 11
                                          )
RED REEF ALTERNATIVE INVESTMENTS, LLC and ) Case No. 20-_____ (___)
EMERGENT CAPITAL, INC.,1                  )
                                          ) (Jointly Administered)
                     Debtors.             )
1
    The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
    (0302) and Emergent Capital, Inc. (3473). The location of the Debtors’ service address for purposes of these
    cases is 1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.

                   4.       In addition, the Clerk shall make a notation substantially similar to the

following on the docket of Red Reef Alternative Investments, LLC:

                   An order (the “Joint Administration Order”) has been entered in
                   this case directing the joint administration of this chapter 11 case
                   with Case No. 20-_____ (___) for procedural purposes only. The
                   docket in Emergent Capital, Inc.’s Case No. 20-_____ (___)
                   should be consulted for all matters affecting this case.

                   5.       The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

                   6.       The Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.
Dated: _______________, 2020

                                                      UNITED STATES BANKRUPTCY JUDGE




                                                            3
DOCS_LA:332933.2
